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USCG Request for ROV Video
Gasaway, Robert R._ to: Sally Shushan 08/25/2011 03:35 PM
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History This message has been replied to and forwarded.

Sent on Behalf of Robert R. Gasaway

Dear Judge Shushan,

BP recently received a time-sensitive request from the US Coast Guard asking BP to investigate the
possible source of oil reported by a third party at a surface location near the Macondo well. In response
to this request, BP is planning to send a remotely operated vehicle (ROV) to the Macondo well site to
inspect the Macondo wellhead (MC 252 #1 well) and the interceptor well head (MC 252 #3 well).

The purpose of this ROV inspection would be merely to obtain video images. The inspection is intended
to be non-invasive and is not intended to alter the site in any way.

BP notes in this regard that an order signed on October 3 2010 by the Honorable Louis Moore Jr. (see

attached) precludes parties from entering a “security zone” that extends 750 feet in all directions “from
the wreckage site of the Deepwater Horizon” vessel. BP believes, however, that it can navigate an ROV
to the two wellheads (which are at some distance from the wreckage site) without violating this Order.

BP therefore provides this notification to the Court and parties of its intention to comply with the Coast

Guard’s request and send the ROV to perform the inspection this afternoon (August 25°). Naturally, BP
would be willing to make any ROV video obtained available to any party who requests a copy.

Thank you very much for your kind attention to this matter.
Respectfully submitted,

Robert R. Gasaway

Partner

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